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

                             UNITED STATES DISTRICT COURT

               NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

 APPLE INC., a California corporation,            CASE NO. 11-cv-1846-LHK

               Plaintiff,                         DECLARATION OF SARA JENKINS IN
                                                     SUPPORT OF MOTION TO COMPEL
        vs.                                       APPLE TO PRODUCE DOCUMENTS,
                                                     ANSWER INTERROGATORIES AND SIT
 SAMSUNG ELECTRONICS CO., LTD., a                 FOR DEPOSITION
    Korean business entity; SAMSUNG
 ELECTRONICS AMERICA, INC., a New                 Judge: Honorable Nathanael Cousins
    York corporation; SAMSUNG
 TELECOMMUNICATIONS AMERICA,                      Courtroom 7
    LLC, a Delaware limited liability company,
                                                  PUBLIC REDACTED VERSION
                  Defendants.
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                                                                       Case No. 11-cv-1846-LHK
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 1 I, Sara Jenkins, declare:

 2         1.       I am an attorney licensed to practice before this Court.   I am an attorney at Quinn

 3 Emanuel Urquhart & Sullivan, LLP and counsel for Samsung Electronics Company, Ltd.,

 4 Samsung Electronics America, Inc., and Samsung Telecommunications America LLC

 5 (collectively “Samsung”) in this matter.     I make this declaration of my own personal knowledge

 6 and, if called to testify, I could and would competently testify hereto under oath.     I submit this

 7 declaration in support of Samsung’s Motion to Compel discovery from Apple, Inc.

 8         2.       On October 30, 2017, Samsung served requests for production and interrogatories

 9 on Apple regarding article of manufacture issues, some of which are the subject of Samsung’s

10 Motion.      Attached as Exhibit A is a true and correct copy of excerpts of Samsung’s First Set of
11 Interrogatories Regarding Article of Manufacture. Attached as Exhibit B is a true and correct

12 copy of excerpts of Samsung’s First Set of Requests for Production Regarding Article of

13 Manufacture. On November 29, 2017 Apple served its initial responses to Samsung’s First Set

14 of Interrogatories, and a true and correct copy of excerpts from Apple’s responses is attached as

15 Exhibit C. On November 29 Apple also served objections and responses to Samsung’s First Set

16 of Requests for Production, and a true and correct copy of the relevant excerpts is attached as

17 Exhibit D.       On December 21, 2017, Apple subsequently supplemented its responses to
18 Samsung’s Interrogatory No. 1, and a true and correct copy of Apple’s Second Supplemental
19 Responses to Samsung’s Interrogatory No. 1 is attached as Exhibit E.

20         3.       Samsung served a 30(b)(6) deposition notice on Apple on November 21, 2017,

21 certain topics of which are the subject of Samsung’s motion.         A true and correct copy of the

22 excerpted deposition notice is attached as Exhibit F. Apple served objections and responses on

23 December 7, 2017, and a true and correct copy of the relevant excerpts is attached as Exhibit G.

24         4.       On December 4, 2017, Samsung sent meet and confer correspondence to Apple

25 regarding Apple’s responses to Samsung’s Interrogatories and Requests for Production. The

26 letter specifically raised the two issues set forth in Samsung’s motion:          Apple’s refusal to
27 produce documents regarding (a) the components of the iPhone, and (b) the quantity and identity

28 of patents practiced by Apple’s phones.         Apple responded on December 6, reiterating its
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 1 objections, and Samsung followed up with additional explanation in a letter on December 7.

 2 Likewise, after receipt of Apple’s objections to Samsung’s 30(b)(6) deposition notice, Samsung

 3 sent a letter on December 8 explaining its position that Apple’s refusal to provide witnesses on

 4 select topics was improper. Apple responded with a letter on December 12 stating its objections.

 5          5.     On December 19, 2017, the parties held a lead counsel meet and confer regarding

 6 the discovery disputes at issue in this motion.   I personally participated in that meet and confer

 7 session, as did my colleagues Rachel Kassabian and our lead counsel William Price.        Apple was

 8 represented by its lead counsel William Lee, as well as Erik Olson and Chris Looney.             The

 9 parties discussed Samsung’s requests for component information for the iPhone and the identity

10 and count of patents practiced by the iPhone.        Apple generally stood by its objections and

11 declined to provide additional discovery on those items. When Samsung inquired if Apple had

12 identified any additional documents regarding the patents practiced by Apple’s iPhones, Apple

13 stated it had not run any searches in response to those discovery requests.   The parties concluded

14 their conference and confirmed, in follow up correspondence dated December 21 and 22, 2017,

15 that they had reached an impasse on the two issues that are the subject of Samsung’s motion.

16          6.     For the convenience of the Court, Samsung has excerpted the specific discovery

17 requests at issue in Samsung’s motion, grouped by the topics referenced in Samsung’s brief, in a

18 chart attached as Exhibit H.
19          7.     The first category of requests consists of five requests for production and two

20 30(b)(6) deposition topics requesting information about Apple’s phone components, including

21 requests for “any analysis of the components included in any Accused Phone or any Apple Phone,

22 including teardowns, cost summaries, component pricing, and/or bills of materials,” and

23 “Documents sufficient to identify the (i) manufacturer and (ii) supplier” of Apple’s phone

24 components.     Ex. H at 1-5.   Apple objected to these requests in relevant part as “not directed to

25 the discovery of evidence relevant to the identification of the articles of manufacture to which

26 Samsung applied the Apple Design Patents in Suit under the four-factor test set forth in the
27 Court’s October 22, 2017 Order, or the calculation of Samsung’s total profits from the sale of

28 those articles of manufacture.”    Id.   During the parties’ meet and confer efforts, including in
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 1 Samsung’s December 7, 2017 letter, Samsung explained that information about phone components

 2 and teardowns was relevant to the Court’s test for article of manufacture, which requires “a case-

 3 specific analysis of the relationship among the design, the product, and any components.” Dkt.

 4 3530 at 13 (emphasis added).        A true and correct copy of Samsung’s December 7 letter is

 5 attached as Exhibit I.

 6          8.     Apple’s Vice President of Procurement, Tony Blevins, was deposed on December

 7 17, 2017, and a true and correct copy of excerpts of his deposition transcript are attached as

 8 Exhibit J.     Mr. Blevins testified that
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11                                 Mr. Blevins testified that many of the documents Apple previously

12 produced were                               but are instead

13

14

15                                                                                             Samsung

16 is willing to receive a subset of component information dealing with the specific components

17 Samsung claims are the relevant articles of manufacture for the three Apple design patents at

18 issue.
19          9.     The second category of requests (Ex. H at 5-8) consists of one interrogatory, one

20 request for production, and three 30(b)(6) deposition topics requesting information about the

21 quantity and identity of patents practiced by Apple’s phones, including requests for “every

22 summary, measurement, estimate, or public statement regarding the quantity and/or identity of all

23 design and utility patents (other than the Apple Design Patents In Suit) that are or were practiced

24 by each of the Apple Phones.”        Interrogatory No. 5; Request for Production No. 5; 30(b)(6)

25 Topic Nos. 4, 5 and 12. As with the first category of requests, Apple objected to these requests,
26 claiming, among other things, that they were “not directed towards the discovery of evidence
27 relevant to the identification of the articles of manufacture to which Samsung applied the Apple

28 Design Patents in Suit under the four-factor test set forth in the Court’s October 22, 2017 Order, or
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 1 the calculation of Samsung’s total profits from the sale of those articles of manufacture.”       Ex. C

 2 at 23; Ex. D. at 10-11.

 3          10.     During the parties’ meet and confer conversation and a subsequent follow-up letter

 4 on December 21, 2017, Samsung explained its position that “the identity by type and number of

 5 inventions Apple has deemed or represented to be embodied in its Phones, is relevant to, at a

 6 minimum, Factor Three of the Article of Manufacture test—i.e., whether the design is

 7 conceptually distinct from the product as a whole.” A true and correct copy of Samsung’s

 8 December 21 letter is attached as Exhibit K.        During the meet and confer and in its final letter
 9 dated December 22, 2017, Apple stood by its position and declined to search for additional

10 documents. A true and correct copy of Apple’s December 22 letter is attached as Exhibit L.            The
11 parties reached an impasse as of December 22, after several weeks of discussion.                Because

12 Samsung seeks only information sufficient to show Apple’s estimates of the identity and quantity

13 of patents practiced by its phones, these requests are narrowly tailored to relevant issues.

14          11.     On December 27, 2017, pursuant to the San Jose Judges Standing Order, my

15 colleague emailed Judge Koh’s chambers to request a hearing date for Samsung’s motion to

16 compel. That afternoon, Judge Koh’s chambers responded by email (attached hereto as Exhibit

17 M) instructing the parties to direct any discovery motions to Magistrate Judge Cousins.           I then
18 contacted Apple’s counsel to ask if they would cooperate in the preparation and submission of a
19 five-page joint discovery letter per Judge Cousins’s Civil Standing Order.        Apple responded the

20 following day, December 28, stating that Apple was closed through January 1 for the holidays,

21 and thus that it would not be able to supply its portion of the joint letter until January 3, 2018.

22          12.     By operation of Civil Local Rule 37-3, the discovery motion cutoff in this case is

23 December 28, 2017, seven days after the December 21 fact discovery cutoff set by Judge Koh in

24 the Case Management Order at Dkt. 3536.         Accordingly, in light of the December 28th discovery

25 motion cutoff, Samsung is not at liberty to delay the filing of its motion.     In light of the holidays,

26 however, Samsung does not object to Apple submitting its responsive two-page letter on January
27 3.

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 1         I declare under penalty of perjury under the laws of the United States of America that the

 2 foregoing is true and correct to the best of my knowledge.   Executed this 28th day of December,

 3 2017, in Belmont, California.

 4 Dated: December 28, 2017                               QUINN EMANUEL URQUHART &
                                                          SULLIVAN, LLP
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                                                By      /s/ Sara Jenkins
 8
                                                  Sara Jenkins
 9
                                                   Attorney for SAMSUNG ELECTRONICS CO.,
10                                                 LTD., SAMSUNG ELECTRONICS AMERICA,
                                                   INC. and SAMSUNG
11                                                 TELECOMMUNICATIONS AMERICA, LLC
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 1                                          ATTESTATION
 2          I, Victoria Maroulis, am the ECF User whose ID and password are being used to file this

 3 Declaration. In compliance with Civil Local Rules 5-1(i), I hereby attest that Sara Jenkins has

 4 concurred in this filing.

 5

 6 Dated: December 28, 2017                        /s/ Victoria Maroulis
                                                   Victoria Maroulis
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